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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.1.1
                                Eastern Division

Jeff Janicki
                                           Plaintiff,
v.                                                          Case No.: 1:10−cv−05850
                                                            Honorable David H. Coar
Portfolio Recovery Associates, LLC
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 1, 2010:


       MINUTE entry before Honorable David H. Coar: Status hearing set for
11/17/2010 at 09:00 AM.Mailed notice(pm, )




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